                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,     )
                              )
                   Plaintiff, )
                              )
              v.              )
                              )
MARCO ANTONIO REYES-ESTRADA, )                               No. 12-4025-02-CR-C-NKL
                              )
                   Defendant. )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Marco Antonio Reyes-Estrada, by consent, appeared before the undersigned
on October 1, 2012, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One, Four and Six of
the Indictment filed on March 21, 2012. After cautioning and examining the defendant, under
oath, in accordance with the requirements of Rule 11, it was determined that the guilty plea was
made with full knowledge of the charges and the consequences of pleading guilty, was voluntary,
and that the offenses to which the defendant has plead guilty are supported by a factual basis for
each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Marco Antonio Reyes-Estrada be adjudged guilty and have sentence imposed
accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 1st day of October, 2012, at Jefferson City, Missouri.

                                              /s/   Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge
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